Case 3:98-cv-00088-CRB , Document 355 Filed 06/19/08 Page 1 of 2

FILED |

JUN 1 2008

UNITED STATES COURT OF APPEALS

FILED

JUN 12 2008

FOR THE NINTH CIRCUIT

RICHARD W. WIEKING

CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff - Appellee,
V.

OAKLAND CANNABIS BUYERS’
COOPERATIVE; JEFFREY JONES,

Defendants - Appellants.

UNITED STATES OF AMERICA,
Plaintiff - Appellee,
V.

MARIN ALLIANCE FOR MEDICAL
MARIJUANA; LYNETTE SHAW,

Defendants - Appellants.

UNITED STATES OF AMERICA,
Plaintiff - Appellee,
V.
UKIAH CANNABIS BUYER’S CLUB;
CHERRIE LOVETT; MARVIN
LEHRMAN MILDRED LEHRMAN,

Defendants - Appellants.

MOLLY C. DWYER, CLERK OF COURT
U.S. COURT OF APPEALS

No. 05-16466

D.C. No. CV-98-00088-CRB
Northern District of California,
San Francisco

AMENDED MANDATE

No. 05-16547

D.C. No. CV-98-00086-CRB
Northern District of California,
San Francisco

AMENDED MANDATE

No. 05-16556

D.C. No. CV-98-00087-CRB
Northern District of California,
San Francisco

AMENDED MANDATE
Case 3:98-cv-00088-CRB | Document 355 Filed 06/19/08 Page 2 of 2

The judgment of this Court, entered **/**/**, takes effect this date.
This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

FOR THE COURT:
Molly C. Dwyer
Clerk of Court

By: Gabriela Van Allen
Deputy Clerk

A TRUE COPY
CATHY A. CATTERSON
Clerk of Court

ATTEST

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